     Case 2:20-cv-08930-DSF-MRW Document 48 Filed 08/19/21 Page 1 of 3 Page ID #:289



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7
       JOI INSCORE

8                                   UNITED STATES DISTRICT COURT

9
                                  CENTRAL DISTRICT OF CALIFORNIA

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11
       WESLEY SINNATHAMBY,                        )       Case No.: 2:20-CV-08930-DSF-MRW
                                                  )
12                           Plaintiff,           )
                                                  )
                    vs.                           )
13
                                                  )       NOTICE OF UNAVAILABILITY OF
       MICHAEL DUANE INSCORE; JOI                 )       COUNSEL
14     INSCORE; KENNETH MARIANO                   )
15
       HUSEMAN; CYNTHIA HUSEMAN; SUSANA )
       LOPEZ GAMEZ in her individual and official )
16     capacity; SUSANA LOPEZ INC., a California )
                                                  )
       Corporation; MARIA SALUD MURRILLO;         )       Dept.: 7D
17     JUANA GENOVEVA SOTOMAYOR                   )       Case Assigned to: Judge Dale S. Fischer
18
       MURILLO; VIDAL GUERRERO; and EJIDO )               Complaint Filed: September 29, 2020
       PRIMO TAPIA, an Unincorporated Mexico      )
19     Association,                               )
                                                  )
                                                  )
20                           Defendants.          )
21

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23           TO THE PARTIES HEREIN AND TO THEIR ATTORNEYS OF RECORD:

24           PLEASE TAKE NOTICE that Stanley Denis will be out of the country and unavailable

25     for all purposes, including any and all court appearances and ex-parte applications, from

26     September 8, 2021 through and including October 1, 2021.

27     //

28     //

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                                     NOTICE OF UNAVAILABILITY OF COUNSEL
     Case 2:20-cv-08930-DSF-MRW Document 48 Filed 08/19/21 Page 2 of 3 Page ID #:290



1            Scheduling a conflicting proceeding without good cause is sanctionable conduct.
2      Tenderloin Housing Clinic v. Sparks (1992) 8 Cal.App.4th 299.
3

4      DATED: August 19, 2021                                  LAW OFFICES OF
                                                               STANLEY DENIS
5

6

7                                                        By:
                                                               STANLEY DENIS
8                                                              Attorney for Defendants
                                                               MICHAEL DUANE INSCORE
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                                                               JOI INSCORE
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                                    NOTICE OF UNAVAILABILITY OF COUNSEL
     Case 2:20-cv-08930-DSF-MRW Document 48 Filed 08/19/21 Page 3 of 3 Page ID #:291



1                                           PROOF OF SERVICE
2
             I, Courtney Kurata, declare as follows:
3            I am employed in the County of Los Angeles, State of California; I am over the age of 18
4      and not a party to this action; my business address is 3620 Pacific Coast Highway, Suite 200,
5      Torrance, California 90505.

6            On August 19, 2021, I served the following document(s) described as:

7
       NOTICE OF UNAVAILABILITY OF COUNSEL
8

9
       on interested parties in this action as follows:
10

11     Attorney for Plaintiff, Wesley Sinnathamby
12
       Meir J. Westreich
13     Attorney at Law
       221 East Walnut, Suite 200
14     Pasadena, CA 91101
15
       Phone: (626) 676-3585
       Email: meirjw@aol.com
16

17

18          BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
19
       agreement of the parties to accept service by e-mail or electronic transmission, I caused the
       documents to be sent to the persons at the e-mail address listed above.
20

21            I declare under penalty of perjury under the laws of the State of California that the
22     foregoing is true and correct and that this declaration was executed on August 19, 2021, at
       Torrance, California.
23

24                                                            __/s/ Courtney Kurata__________
                                                              Courtney Kurata
25

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                                                          3

                                      NOTICE OF UNAVAILABILITY OF COUNSEL
